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                                                                                                      Tonawanda
                                10
                             Grand Island                    07               Clarence         Newstead
                                        Tonawanda          Amherst

                                             11
                                                      08
                                                                                06               Alden
                                                           Cheektowaga
                                            Buffalo                           Lancaster

                                             02                09

                                                                      01        Elma           Marilla
                                             Lackawanna




                                          Hamburg
                                                           Orchard Park                   05
                                                                               Aurora            Wales
County subdivisions not defined
                                            03

                        Evans            Eden               Boston             Colden           Holland




                     Brant                04
                                        North Collins
                   Cattaraugus                                                             Sardinia
                                                                    Concord


                                           Collins
